
Pigott, J.
(concurring). While I agree with the application of judicial estoppel in Matter of Estrellita A. v Jennifer L.D., and that the Appellate Division’s decision in Matter of Brooke S.B. v Elizabeth A.C.C. should be reversed and the case remitted to Supreme Court for a hearing, I cannot join the majority’s opinion overruling Matter of Alison D. v Virginia M. (77 NY2d 651 [1991]). The definition of “parent” that we applied in that case was consistent with the legislative history of Domestic Relations Law § 70 and the common law, and despite several opportunities to do so, the legislature has never altered our conclusion. Rather than craft a new definition to achieve a result the majority perceives as more just, I would retain the rule that parental status under New York law derives from marriage, biology or adoption and decide Brooke S.B. on the basis of extraordinary circumstances. As we have said before, “any change in the meaning of ‘parent’ under our law should come by way of legislative enactment rather than judicial revamping of precedent” (Debra H. v Janice R., 14 NY3d 576, 596 [2010]).
It has long been the rule in this state that, absent extraordinary circumstances, only parents have the right to seek custody or visitation of a minor child (see Domestic Relations Law § 70 [a] [“Where a minor child is residing within this state, either parent may apply to the . . . court for a writ of habeas corpus to have such minor child brought before such court; and on the return thereof, the court. . . may award the natural guardianship, charge and custody of such child to either parent”]). The legislature has not seen the need to define that term, and in the absence of a statutory definition, our Court has consistently interpreted it in the most obvious and colloquial sense to mean a child’s natural parents or parents by adoption (see e.g. People ex rel. Portnoy v Strasser, 303 NY 539, 542 [1952] [“No court can, for any but the gravest reasons, transfer a child from its *30natural parent to any other person”]; People ex rel. Kropp v Shepsky, 305 NY 465, 470 [1953]; see also Domestic Relations Law § 110 [defining adoption as a legal act whereby an adult acquires the rights and responsibilities of a parent with respect to the adoptee]). Thus, in Matter of Ronald FF. v Cindy GG., we held that a man who lacked biological or adoptive ties to a child born out of wedlock could not interfere with a fit biological mother’s right to determine who may associate with her child because he was not a “parent” within the meaning of Domestic Relations Law § 70 (70 NY2d 141, 142 [1987]).
We applied the same rule to a same-sex couple in Matter of Alison D. v Virginia M., holding that a biological stranger to a child who neither adopted the child nor married the child’s biological mother before the child’s birth lacked standing to seek visitation (77 NY2d 651, 656-657 [1991]). The petitioner in that case conceded she was not the child’s “parent” within the meaning of Domestic Relations Law § 70 but argued that her relationship with the child, as a nonparent, entitled her to seek visitation over the objection of the child’s indisputably fit biological mother. Framed in those terms, the answer was easy: the petitioner’s concession that she was not a parent of the child, coupled with the statutory language in Domestic Relations Law § 70 “giv[ing] parents the right to bring proceedings to ensure their proper exercise of [a child’s] care, custody and control,” deprived the petitioner of standing to seek visitation (id. at 657).
Notwithstanding the fact that it may be “beneficial to a child to have continued contact with a nonparent” in some cases (id.), we declined to expand the word “parent” in section 70 to include individuals like the petitioner who were admittedly nonparents but who had developed a close relationship with the child. Our reasoning was that, where the legislature had intended to allow other categories of persons to seek visitation, it had expressly conferred standing on those individuals and given courts the power to determine whether an award of visitation would be in the child’s best interest (see id.). Specifically, the legislature had previously provided that “[w]here circumstances show that conditions exist which equity would see fit to intervene,” a brother, sister or grandparent of a child may petition to have such child brought before the court to “make such directions as the best interest of the child may require, for visitation rights for such brother or sister [or grandparent or grandparents] in respect to such child” *31(Domestic Relations Law §§ 71, 72 [1]). The legislature had also codified the common-law marital presumption of legitimacy for children conceived by artificial reproduction, so that any child born to a married woman by means of artificial insemination was deemed the legitimate, birth child of both spouses (see Domestic Relations Law § 73 [1]). In the absence of further legislative action defining the term “parent” or giving other nonparents the right to petition for visitation, we determined that a non-biological, non-adoptive parent who had not married the child’s biological mother lacked standing under the law (77 NY2d at 657).
Our Court reaffirmed Alison D.’s core holding just six years ago in Debra H. v Janice R. (14 NY3d 576 [2010]). Confronting many of the same arguments petitioners raise in these appeals, we rejected the impulse to judicially enlarge the term “parent” beyond marriage, biology or adoption. We observed that in the nearly 20 years that had passed since our decision in Alison D., other states had legislatively expanded the class of individuals who may seek custody and/or visitation of a child (see id. at 596-597, citing Ind Code Ann §§ 31-17-2-8.5, 31-9-2-35.5; Colo Rev Stat Ann § 14-10-123; Tex Fam Code Ann § 102.003 [a] [9]; Minn Stat Ann § 257C.08 [4]; DC Code Ann § 16-831.01 [1]; Or Rev Stat Ann § 109.119 [1]; Wyo Stat Ann § 20-7-102 [a]). Our State had not—and has not, to this day. In the face of such legislative silence, we refused to undertake the kind of policy analysis reserved for the elected representatives of this State, who are better positioned to “conduct hearings and solicit comments from interested parties, evaluate the voluminous social science research in this area . . . , weigh the consequences of various proposals, and make the tradeoffs needed to fashion the rules that best serve the population of our state” (id. at 597).
The takeaway from Debra H. is that Alison D. didn’t break any new ground or retreat from a broader understanding of parenthood. It showed respect for the role of the legislature in defining who a parent is, and held, based on the legislative guidance before us, that the term was intended to include a child’s biological mother and father, a child’s adoptive parents, and, pursuant to a statute enacted in 1974, the spouse of a woman to whom a child was born by artificial insemination. Although many have complained that this standard “is formulaic, or too rigid, or out of step with the times” {id. at 594), such criticism is properly directed at the legislature, who *32in the 107 years since Domestic Relations Law § 70 was enacted has chosen not to amend that section or define the term “parent” to include persons who establish a loving parental bond with a child, though they lack a biological or adoptive tie.
To be sure, there was a time when our interpretation of “parent” put same-sex couples on unequal footing with their heterosexual counterparts. When Alison D. was decided, for example, it was impossible for both members of a same-sex couple to become the legal parents of a child born to one partner by artificial insemination, because same-sex couples were not permitted to marry or adopt. Our Court eventually held that the adoption statute permitted unmarried same-sex partners to obtain second-parent adoptions (see Matter of Jacob, 86 NY2d 651, 656 [1995]), but it was not until 2011 that the legislature put an end to all sex-based distinctions in the law (see Domestic Relations Law § 10-a).
The legislature’s passage of the Marriage Equality Act granted same-sex couples the right to marry and made clear that “[n]o government treatment or legal status, effect, right, benefit, privilege, protection or responsibility relating to marriage . . . shall differ based on the parties to the marriage being or having been of the same sex rather than a different sex” (Domestic Relations Law § 10-a [2]). Having mandated gender neutrality with respect to every legal benefit and obligation arising from marriage, and eliminated every sex-based distinction in the law and common law, the legislature has formally declared its intention that “[s]ame-sex couples should have the same access as others to the protections, responsibilities, rights, obligations, and benefits of civil marriage” (L 2011, ch 95, § 2).
Same-sex couples are now afforded the same legal rights as heterosexual couples and are no longer barred from establishing the types of legal parent-child relationships that the law had previously disallowed. Today, a child born to a married person by means of artificial insemination with the consent of the other spouse is deemed to be the child of both spouses, regardless of the couple’s sexual orientation (2-22 NY Civil Practice: Family Court Proceedings § 22.08 [1] [Matthew Bender]; Laura WW. v Peter WW., 51 AD3d 211, 217-218 [3d Dept 2008] [holding that a child born to a married woman is the legitimate child of both parties and that, absent evidence to the contrary, the spouse of the married woman is presumed *33to have consented to such status]; Matter of Kelly S. v Farah M., 139 AD3d 90, 103-104 [2d Dept 2016] [finding that the failure to strictly comply with the requirements of Domestic Relations Law § 73 did not preclude recognition of a biological mother’s former same-sex partner as a parent to the child conceived by artificial insemination during the couple’s domestic partnership]; Wendy G-M. v Erin G-M., 45 Misc 3d 574, 593 [Sup Ct, Monroe County 2014] [applying the marital presumption to a child born of a same-sex couple married in Connecticut]). And if two individuals of the same sex choose not to marry but later conceive a child by artificial insemination, the non-biological parent may now adopt the child through a second-parent adoption.
The Marriage Equality Act and Matter of Jacob have erased any obstacles to living within the rights and duties of the Domestic Relations Law. The corollary is, absent further legislative action, an unmarried individual who lacks a biological or adoptive connection to a child conceived after 2011 does not have standing under Domestic Relations Law § 70, regardless of gender or sexual orientation. Unlike the majority, I would leave it to the legislature to determine whether a broader category of persons should be permitted to seek custody or visitation under the law. I remain of the view, as I was in Debra H., that we should not “preempt our Legislature by sidestepping section 70 of the Domestic Relations Law as presently drafted and interpreted in Alison D. to create an additional category of parent . . . through the exercise of our common-law and equitable powers” (14 NY3d at 597).
I do agree, however, with the results the majority has reached in these cases. The Marriage Equality Act did not benefit the same-sex couples before us in these appeals, who entered into committed relationships and chose to rear children before they were permitted to exercise what our legislature and the Supreme Court of the United States have now declared a fundamental human right (see generally Obergefell v Hodges, 576 US —, 135 S Ct 2584 [2015]). That Brooke and Elizabeth did not have the same opportunity to marry one another before they decided to have a family means that the couple (and the child born to them through artificial insemination) did not receive the same legal protection our laws would have provided a child born to a heterosexual couple under similar circumstances. That is, the law did not presume—as it would have for a married heterosexual couple—that any child *34born to one of the women during their relationship was the legitimate child of both.
In my view, this inequality and the substantial changes in the law that have occurred since our decision in Debra H. constitute extraordinary circumstances that give these petitioners standing to seek visitation (see Ronald FF., 70 NY2d at 144-145 [barring the State from interfering with a parent’s “(fundamental) right ... to choose those with whom her child associates” unless it “shows some compelling State purpose which furthers the child’s best interest”]). Namely, each couple agreed to conceive a child by artificial insemination at a time when they were not allowed to marry in New York and intended to raise the child in the type of relationship the couples would have formalized by marriage had our State permitted them to exercise that fundamental human right. On the basis of these facts, I would remit the matter in Brooke S.B. to Supreme Court for a hearing to determine whether it would be in the child’s best interest to have regular visitation with petitioner. As the majority correctly concludes, the petitioner in Estrellita A. has standing by virtue of judicial estoppel (majority op at 29).
Matter of Brooke S.B. v Elizabeth A.C.C.: Order reversed, without costs, and matter remitted to Family Court, Chautauqua County, for further proceedings in accordance with the opinion herein.
Opinion by Judge Abdus-Salaam. Chief Judge DiFiore and Judges Rivera, Stein and Garcia concur. Judge Pigott concurs in a separate concurring opinion. Judge Fahey taking no part.
Matter of Estrellita A. v Jennifer L.D.: Order affirmed, without costs.
Opinion by Judge Abdus-Salaam. Chief Judge DiFiore and Judges Rivera, Stein and Garcia concur. Judge Pigott concurs in a separate concurring opinion. Judge Fahey taking no part.
